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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

AMARILLO DIVISION
STATE OF UTAH, et al.,
Plaintiff,
V. 2:23-CV-016-Z
MARTIN J. WALSH, SECRETARY OF |
LABOR, et al.,
Defendants.

JUDGMENT

The undersigned United States District Judge has entered an order GRANTING
Defendants’ Cross-Motion for Summary Judgment (ECF No. 94) and DENYING Plaintiffs’
Motion for Summary Judgment (ECF No. 92). See ECF No. 109. All other relief not expressly
granted therein is DENIED. Accordingly, the case is now closed.

Judgment is entered accordingly.

September gl , 2023

MATHEW J. KACSMARYK
UNITED STATES DISTRICT JUDGE

